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                   UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION
 In re:                            §
                                   §              Chapter 11
 FREE SPEECH SYSTEMS LLC,          §
                                   §        Case No. 22-60043 (CML)
           Debtor.                 §

    PQPR HOLDINGS LIMITED, LLC’S WITNESS AND EXHIBIT LIST FOR THE
                   HEARING SET FOR MARCH 11, 2024

        PQPR Holdings Limited, LLC (“PQPR”), the secured creditor of the Debtor and a party-
in-interest, respectfully submits this Witness and Exhibit List for the hearing scheduled for March
11, 2024 at 3:00 pm:
                                          WITNESS LIST

       1.       Patrick Magill;
       2.       Ray Battaglia;
       3.       Harold “Hap” May; and
       4.       Any witness identified by any other party.

                                         EXHIBIT LIST

  Exhibit No.     Description
   PQPR-1         Debtor’s Amended Emergency Application for Entry of an Order Authorizing the
                  Debtor to Retain and Employ Harold “Hap” May, PC as Co-Counsel [Docket 809]
    PQPR-2        Debtor’s Notice of Cash Collateral Budget for March 2024 [Docket 824]
    PQPR-3        Debtor’s Monthly Operating Report for October 2023 [Docket 757]
    PQPR-4        Debtor’s Monthly Operating Report for November 2023 [Docket 798]
    PQPR-5        Debtor’s Monthly Operating Report for December 2023 [Docket 791]
    PQPR-6        Debtor’s Monthly Operating Report for January 2024 [Docket 818]
    PQPR-7        Amended Declaration of Liz Freeman [Docket 803]
    PQPR-8        Exhibit A to Docket 778 (Battaglia fee records) [Docket 778-1]
                  Any exhibits offered by any other party

Dated: March 7, 2024                         Respectfully submitted,

                                             STREUSAND, LANDON & OZBURN, LLP

                                             By: /s/Stephen W. Lemmon
                                                 Stephen W. Lemmon
                                                 Texas Bar. No. 12194500
                                                 STREUSAND, LANDON, OZBURN &
                                                 LEMMON, LLP
                                                 1801 S. MoPac Expressway, Suite 320
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                                                    lemmon@slollp.com
                                                    ATTORNEYS FOR
                                                    PQPR HOLDINGS LIMITED, LLC



                                CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing document has been served on
counsel for Debtor, Debtor, and all parties receiving or entitled to notice through CM/ECF on this
7th day of March, 2024.



                                             /s/ Stephen W. Lemmon
                                             Stephen W. Lemmon




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